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                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801
In Re:                                                                           Case No.: 18−12241−CSS
Mattress Firm, Inc.
                                                                                 Chapter: 11

                                                 Notice of Deficiency

    The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, if
    your intention is for this document to be docketed as a Proof of Claim (or Amended Proof of Claim), it must be
    submitted using Official Form B410. Official forms can be found on our website at
    www.uscourts.gov/forms/bankruptcy−forms/proof−claim. A proof of claim may be filed either electronically or
    as a paper document. For information on how to file a claim, visit the United States Bankruptcy Court − District
    of Delaware website at www.deb.uscourts.gov. When resubmitting your claim, please either include this Notice
    or ensure that you make reference to the docket number initially assigned to your filing.
    The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, the
    case is currently closed. If you desire to reopen the case, a Motion to Reopen must be filed along with the
    appropriate filing fee.
    The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, it is
    not in compliance with our Local Rules.
    The bankruptcy petition you filed was received on . It was docketed and assigned Case # . At the time of the
    filing, the applicable photo identification requirement was not satisifed. The debtor(s) named in the petition must
    either present in person a current, valid form of photo identification or file a legible copy by mail within the next
    fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo ID Requirement can be found on the
    Court's website at http://www.deb.uscourts.gov/filing−without−attorney
    A bankruptcy petition, affirmed to be authorized to be filed on your behalf, was received on . It was docketed
    and assigned Case # . At the time of filing, the applicable photo identifcation requirement was not satisfied. The
    debtor(s) named in the petition must either present in person a current, valid form of photo identification or file a
    legible copy by mail within the next fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo
    ID Requirement can be found on the Court's website at http://www.deb.uscourts.gov/filing−without−attorney
    Other: Your docket entry at [663] Motion for Relief needs to be noticed for hearing.

    Local Rules and Official Forms can be found on the Court's website at www.deb.uscourts.gov

    __________________________________________________________________________________________


    I certify that this Notice of Deficiency was mailed on the date indicated below to:
    Robert McEvoy




                                                                     Una O'Boyle, Clerk of Court
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Date: 11/8/18                                 By: Donna Capell, Deputy Clerk




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